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Hon. Charies A. Legge (Ret.)

JAMS

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Special Master

IN RE: CATHODE RAY TUBE (CRT) No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917
JAMS Reference No. 1100054618
CRAGO, INC., et al.,
[PROPOSED] REVISED
Plaintiffs, SCHEDULING ORDER
VS.
CHUNGHWA PICTURE TUBES, LTD.,
etal,
Defendants.
This Document Relates to ALL CASES
{March 15, 2013 Last day for Mediation — Direct Class]
October 23, 2013 Last day for Directs, Indirects, State Attorneys

General, and Direct Actions Plaintiffs to serve

expert reports on merits

November 22, 2013 Last day for Defendants to serve expert reports on

merits

January 31, 2014 Last day for Directs, Indirects, State Attorneys General,

and Direct Action Plaintiffs to serve rebuttal expert

reports on merits

[PROPOSED] REVISED SCHEDULING ORDER
Case No. 07-5944 SC
MDL No. 1917

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March 3, 2014 Close of fact and expert discovery

April 15, 2014 Last day to file dispositive motions

June 2, 2014 Last day to file oppositions to dispositive motions

July 2, 2014 Last day for dispositive motions replies

July 18, 2014 Hearing on dispositive motions

July 31, 2014 Mediation

August 15, 2014 Last day for actions filed outside of ND Cal. to be
returned to courts in which originally filed

August 15, 2014 Last day for settlement conference

August 15, 2014 Last day for filing motions in limine and other non-

dispositive pretrial motions

August 22, 2014 Last day to meet and confer re pretrial order

August 29, 2014 Parties must exchange proposed exhibits and witness
lists

August 29, 2014 Last day for filing pretrial order, agreed set of jury
instructions and verdict forms

August 29, 2014 Last day for filing oppositions to motions in limine

September 12, 2014 Last day for filing motions in limine reply briefs

September 26, 2014 Hearing on motions in limine

October 6, 2014 Final pretrial conference

October 20, 2014* Trial(s)

* The dates above apply to the action of the California Attorney General only insofar as
the close of fact discovery on Defendants, the date of the expert report due from Plaintiffs,

and mediation is concerned.

Date of Order:
March 13, 2013

[PROPOSED] REVISED SCHEDULING ORDER.
Case No. 07-5944 SC
MDL No. 1917
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